                   Case 24-12645-MFW         Doc 14     Filed 11/21/24     Page 1 of 1



                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 15

ROKSTAD HOLDINGS CORPORATION, et al.,                        Case No. 24-12645 (MFW)

                     Debtors in a Foreign Proceeding.        Joint Administration Requested


                        MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010–1 and the attached certification, counsel moves for the admission
pro hac vice of Brooke E. Wilson of Pachulski Stang Ziehl & Jones LLP to represent the Debtors in the
above-captioned chapter 11 cases and any related adversary proceedings.

Dated: November 21, 2024                         /s/ Steven W. Golden
                                                 Steven W. Golden (DE Bar No. 6807)
                                                 Pachulski Stang Ziehl & Jones LLP
                                                 919 N. Market Street, 17th Floor
                                                 Wilmington, DE 19899-8705
                                                 Telephone: (302) 652-4100
                                                 Facsimile: (302) 652-4400
                                                 Email: sgolden@pszjlaw.com

                CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing, and in good standing as a member of the Bar of the State of New York and
California, and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which
occurs in the preparation or course of this action. I also certify that I am generally familiar with this
Court’s Local Rules and with Standing Order for District Court Fund revised 12/21/2023. I further certify
that the annual fee of $50.00 has been paid to the Clerk of Court for District Court.

Dated: November 21, 2024                         /s/ Brooke E. Wilson
                                                 Brooke E. Wilson (CA Bar No. 354614)
                                                 Pachulski Stang Ziehl & Jones LLP
                                                 One Sansome Street, Suite 3430
                                                 San Francisco, CA 94104
                                                 Telephone: (415) 263-7000
                                                 Email: bwilson@pszjlaw.com

                                      ORDER GRANTING MOTION

          IT IS HEREBY ORDERED THAT counsel’s motion for admission pro hac vice is granted.




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